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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 16-cv-81871-KAM

   LAN LI, an individual; YING TAN, an individual;
   TAO XIONG, an individual; et al.,

          Plaintiffs,

   vs.

   JOSEPH WALSH, et al.,

        Defendants.
   ________________________________/

         ANSWER AND AFFIRMATIVE DEFENSES TO THE AMENDED COMPLAINT

          Defendants Ali Herischi and Herischi & Associates, LLC (collectively the “Herischi

   Defendants”) file their Answer and Affirmative Defenses to the Plaintiffs’ Amended

   Complaint dated August 30, 2017 (ECF No. 181) as follows:

                                            ANSWER

          In Answer to the Amended Complaint, the Herischi Defendants state as follows:

                                        INTRODUCTION

          1.      The Herischi Defendants deny the allegations contained in paragraph 1 of

   the Amended Complaint.

          2.      The Herischi Defendants deny the allegations contained in paragraph 2 of

   the Amended Complaint.

          3.      The Herischi Defendants admit that the Herischi Defendants and the Iranian

   Plaintiffs were informed that the Iranian Plaintiff’s funds were to be held in escrow pending

   approval of their applications, but otherwise deny the allegations contained in paragraph

   3 of the Amended Complaint.
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           4.    The Herischi Defendants deny the allegations contained in paragraph 4 of

   the Amended Complaint (including the allegations contained in subsections (a) through

   (c)).

           5.    The Herischi Defendants deny the allegations contained in paragraph 5 of

   the Amended Complaint.

           6.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 6 of the Amended Complaint. The Herischi

   Defendants deny that they removed or received any of the funds described in paragraph

   6 of the Amended Complaint.

           7.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 7 of the Amended Complaint. The Herischi

   Defendants deny that they removed or received any of the funds described in paragraph

   7 of the Amended Complaint.

           8.    The Herischi Defendants deny that they removed or received any of the funds

   described in paragraph 8 of the Amended Complaint. The Herischi Defendants lack

   sufficient knowledge to form a belief about the truth of the remaining allegations contained

   in paragraph 8 of the Amended Complaint (including the allegations contained in

   subsections (a) through (c) of that paragraph).

           9.    The Herischi Defendants admit that the no EB-5 visa was issued to

   Mohammad Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin,

   or Ali Adampeyra. The Herischi Defendants lack sufficient knowledge to form a belief

   about the truth of the remaining allegations contained in paragraph 9 of the Amended

   Complaint.


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          10.    The Herischi Defendants deny the allegations contained in paragraph 10 of

   the Amended Complaint.

          11.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 11 of the Amended Complaint.

          12.    The Herischi Defendants acknowledge that the Plaintiffs come to this Court

   seeking relief. The Herischi Defendants, however, deny that the Plaintiffs are entitled to

   any of the relief they seek as it pertains to the Herischi Defendants.

          13.    The Herischi Defendants deny the allegations contained in paragraph 13 of

   the Amended Complaint (including the allegations contained in subsections (a) through (f)

   of that paragraph and all subsections thereto).

          14.    The Herischi Defendants deny the allegations contained in paragraph 14 of

   the Amended Complaint.

          15.    The Herischi Defendants admit that no EB-5 visas were issued to

   Mohammad Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin,

   and Ali Adampeyra. The Herischi Defendants deny the remaining allegations contained in

   paragraph 15 of the Amended Complaint.

          16.    The Herischi Defendants lack sufficient knowledge to form a belief about the

   truth of the allegations contained in paragraph 16 of the Amended Complaint. The Herischi

   Defendants deny that they removed or received any of the funds described in paragraph

   16 of the Amended Complaint.

          17.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 17 of the Amended Complaint.

          18.    The Herischi Defendants lack knowledge sufficient to form a belief about the


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   truth of the allegations contained in paragraph 18 of the Amended Complaint.

         19.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 19 of the Amended Complaint.

         20.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 20 of the Amended Complaint.

         21.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 21 of the Amended Complaint.

         22.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 22 of the Amended Complaint.

         23.    The Herischi Defendants admit that no EB-5 visas were issued to

   Mohammad Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin,

   and Ali Adampeyra. The Hersichi Defendants deny the remaining allegations contained

   in paragraph 23 of the Amended Complaint.

         24.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations in paragraph 24 of the Amended Complaint related to the existence

   of an insurance policy guaranteeing the completion of construction of the Palm House

   Hotel Project. The Herischi Defendants otherwise deny the allegations contained in

   paragraph 24 of the Amended Complaint.

         25.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 25 of the Amended Complaint.

         26.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 26 of the Amended Complaint.

         27.    The Herischi Defendants lack knowledge sufficient to form a belief about the


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   truth of the allegations contained in paragraph 27 of the Amended Complaint.

          28.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 28 of the Amended Complaint.

                           PARTIES, JURISDICTION, AND VENUE

          29.    The Herischi Defendants acknowledge that the Plaintiffs attempt to state

   claims for common law and securities fraud, theft, conspiracy, and breach of fiduciary duty,

   among other things, but deny that the Plaintiffs are entitled to any of the relief requested

   with respect to the Herischi Defendants. The Herischi Defendants otherwise deny the

   allegations contained in paragraph 29 of the Amended Complaint.

          30.    The Herischi Defendants acknowledge that the Plaintiffs attempt to state

   claims for common law and securities fraud, theft, conspiracy, and breach of fiduciary duty,

   among other things, but deny that the Plaintiffs are entitled to any of the relief requested

   with respect to the Herischi Defendants and otherwise deny the allegations contained in

   paragraph 30 of the Amended Complaint.

          31.    The Herischi Defendants deny the allegations contained in paragraph 31 of

   the Amended Complaint.

          32.    The Herischi Defendants admit that Palm House Hotel, LLLP is a Florida

   limited liability limited partnership with its principal place of business in Palm Beach

   County, Florida. The Herischi Defendants deny the remaining allegations contained in

   paragraph 32 of the Amended Complaint.

          33.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 33 of the Amended Complaint.

          34.    The Herischi Defendants lack knowledge sufficient to form a belief about the


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   truth of the allegations contained in paragraph 34 of the Amended Complaint.

          35.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 35 of the Amended Complaint.

          36.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 36 of the Amended Complaint.

          37.    The Herischi Defendants admit that the South Atlantic Regional Center, LLC

   (“SARC”) is a Florida limited liability company with its principal place of business in Palm

   Beach County, Florida, and that SARC holds itself out as a Federally approved Regional

   Center. The Herischi Defendants otherwise deny the allegations contained in paragraph

   37 of the Amended Complaint.

          38.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 38 of the Amended Complaint.

          39.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 39 of the Amended Complaint.

          40.    The Herischi Defendants admit that Ali Herischi is an attorney admitted to

   practice in the state of Maryland, that he speaks Farsi, and that he is the principal of

   Defendant Herischi & Associates, LLC. The Herischi Defendants otherwise deny the

   allegations contained in paragraph 40 of the Amended Complaint (including the allegations

   contained in footnote 3 to that paragraph).

          41.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 41 of the Amended Complaint.

          42.    The Herischi Defendants admit that Palm House, LLC is a Delaware limited

   liability company. The Herischi Defendants lack knowledge sufficient to form a belief about


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   the truth of the remaining allegations contained in paragraph 42 of the Amended

   Complaint.

         43.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 43 of the Amended Complaint.

         44.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 44 of the Amended Complaint.

         45.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 45 of the Amended Complaint.

         46.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 46 of the Amended Complaint.

         47.    The Herischi Defendants admit that 160 Royal Palm LLC is a Florida limited

   liability company and that it owns the property located at 160 Royal Palm Way, Palm

   Beach Florida. The Herischi Defendants lack knowledge sufficient to form a belief about

   the truth of the remaining allegations contained in paragraph 47 of the Amended

   Complaint.

         48.    The Herischi Defendants admit that Palm House PB, LLC was a Florida

   limited liability company. The Herischi Defendants lack knowledge sufficient to form a

   belief about the truth of the remaining allegations contained in paragraph 48 of the

   Amended Complaint.

         49.    The Herischi Defendants admit that Mirabia, LLC is a Delaware limited liability

   company. The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the remaining allegations contained in paragraph 49 of the Amended Complaint.

         50.    The Herischi Defendants admit that Bonaventure 22, LLC is a Florida limited


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   liability company and that Mia Matthews is listed as its Manager. The Herischi Defendants

   lack knowledge sufficient to form a belief about the truth of the remaining allegations

   contained in paragraph 50 of the Amended Complaint.

          51.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 51 of the Amended Complaint.

          52.    The Herischi Defendants admit that Leslie Robert Evans is an attorney

   licensed to practice in Florida with offices in Palm Beach County, Florida. The Herischi

   Defendants lack knowledge sufficient to form a belief about the truth of the allegations

   contained in paragraph 52 of the Amended Complaint. However, the Herischi Defendants

   deny that they received any of the funds discussed in paragraph 52 of the Amended

   Complaint.

          53.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 53 of the Amended Complaint.

          54.    The Herischi Defendants admit that New Haven Contracting South, Inc. is a

   Florida for-profit corporation and that Nicholas Laudano is listed as its CFO. The Herischi

   Defendants lack knowledge sufficient to form a belief about the truth of the remaining

   allegations contained in paragraph 54 of the Amended Complaint.

          55.    The Herischi Defendants admit that NJL Development Group, LLC is a

   Delaware limited liability company and that Botticelli Advisors, LLC is a Florida limited

   liability company. The Herischi Defendants lack knowledge sufficient to form a belief about

   the truth of the remaining allegations contained in paragraph 55 of the Amended

   Complaint.

          56.    The Herischi Defendants admit that KK-PB Financial, LLC is a Florida limited


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   liability company. The Herischi Defendants lack knowledge sufficient to form a belief about

   the truth of the remaining allegations contained in paragraph 56 of the Amended

   Complaint.

          57.    The Herischi Defendants admit the allegations contained in paragraph 57 of

   the Amended Complaint for purposes of jurisdiction and venue only. The Herischi

   Defendants otherwise deny the allegations contained in paragraph 57 of the Amended

   Complaint.

          58.    The Herischi Defendants admit the allegations contained in paragraph 58 of

   the Amended Complaint for purposes of jurisdiction and venue only. The Herischi

   Defendants otherwise deny the allegations contained in paragraph 58 of the Amended

   Complaint.

          59.    The Herischi Defendants admit the allegations contained in paragraph 59 of

   the Amended Complaint for purposes of jurisdiction and venue only. The Herischi

   Defendants otherwise deny the allegations contained in paragraph 59 of the Amended

   Complaint and deny that the Plaintiffs are entitled to any of the relief sought in the

   Amended Complaint.

          60.    The Herischi Defendants admit the allegations contained in paragraph 60 of

   the Amended Complaint for purposes of jurisdiction and venue only. The Herischi

   Defendants otherwise deny the allegations contained in paragraph 60 of the Amended

   Complaint and deny that the Plaintiffs are entitled to any of the relief sought in the

   Amended Complaint.

          61.    The Herischi Defendants admit the allegations contained in paragraph 61 of

   the Amended Complaint for purposes of jurisdiction and         venue only. The Herischi


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   Defendants otherwise deny the allegations contained in paragraph 61 of the Amended

   Complaint and deny that the Plaintiffs are entitled to any of the relief sought in the

   Amended Complaint.

         62.    The Herischi Defendants deny the allegations contained in paragraph 62 of

   the Amended Complaint.

         63.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 63 of the Amended Complaint.

                                 GENERAL ALLEGATIONS

   EB-5 Visa Program in General

         64.    The allegations of paragraph 64 of the Amended Complaint consist of legal

   conclusions regarding the Immigration and Nationality Act and related statutory provisions

   and regulations.   Thus, the allegations contained in paragraph 64 of the Amended

   Complaint are denied. The provisions of the Immigration and Nationality Act and related

   statutory provisions and regulations speak for themselves.

         65.    The allegations of paragraph 65 of the Amended Complaint consist of legal

   conclusions regarding the Immigration and Nationality Act and related statutory provisions

   and regulations.   Thus, the allegations contained in paragraph 65 of the Amended

   Complaint are denied. The provisions of the Immigration and Nationality Act and related

   statutory provisions and regulations speak for themselves.

         66.    The allegations of paragraph 66 of the Amended Complaint consist of legal

   conclusions regarding the Immigration and Nationality Act and related statutory provisions

   and regulations.   Thus, the allegations contained in paragraph 66 of the Amended

   Complaint are denied. The provisions of the Immigration and Nationality Act and related


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   statutory provisions and regulations speak for themselves.

         67.    The allegations of paragraph 67 of the Amended Complaint consist of legal

   conclusions regarding the Immigration and Nationality Act and related statutory provisions

   and regulations.   Thus, the allegations contained in paragraph 67 of the Amended

   Complaint are denied. The provisions of the Immigration and Nationality Act and related

   statutory provisions and regulations speak for themselves.

   EB-5 Practice and Procedure

         68.    The allegations of paragraph 68 of the Amended Complaint consist of legal

   conclusions regarding the Immigration and Nationality Act and related statutory provisions

   and regulations.   Thus, the allegations contained in paragraph 68 of the Amended

   Complaint are denied. The provisions of the Immigration and Nationality Act and related

   statutory provisions and regulations speak for themselves.

         69.    The allegations of paragraph 69 of the Amended Complaint consist of legal

   conclusions regarding the Immigration and Nationality Act and related statutory provisions

   and regulations.   Thus, the allegations contained in paragraph 69 of the Amended

   Complaint are denied. The provisions of the Immigration and Nationality Act and related

   statutory provisions and regulations speak for themselves.

   EB-5 at the Palm House Hotel

         70.    The Herischi Defendants admit the allegations contained in paragraph 70

   of the Amended Complaint.

         71.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 71 of the Amended Complaint.

         72.    The Herischi Defendants lack knowledge sufficient to form a belief about the


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   truth of the allegations contained in paragraph 72 of the Amended Complaint.

         73.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 73 of the Amended Complaint.

         74.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 74 of the Amended Complaint.

         75.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 75 of the Amended Complaint.

         76.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 76 of the Amended Complaint.

         77.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 77 of the Amended Complaint.

         78.    The Herischi Defendants deny the allegations contained in paragraph 78 of

   the Amended Complaint.

         79.    The Herischi Defendants admit that Ali Herischi is an attorney admitted to

   practice in the state of Maryland, that he speaks Farsi, and that he is the principal of

   Defendant Herischi & Associates, LLC. The Herischi Defendants otherwise deny the

   allegations contained in paragraph 79 of the Amended Complaint.

         80.    The Herischi Defendants deny the allegations contained in paragraph 80 of

   the Amended Complaint.

         81.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 81 of the Amended Complaint.

         82.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 82 of the Amended Complaint.


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         83.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 83 of the Amended Complaint.

         84.    The Herischi Defendants admit that the documents attached as Exhibits B,

   D, and F of the Amended Complaint were distributed by the Palm House Hotel project, but

   otherwise deny the allegations contained in paragraph 84 of the Amended Complaint

   (including the allegations contained in subsection (a) through (c) of that paragraph).

         85.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 85 of the Amended Complaint.

         86.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 86 of the Amended Complaint.

         87.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 87 of the Amended Complaint.

         88.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 88 of the Amended Complaint.

         89.    The Herischi Defendants deny the allegations contained in paragraph 89 of

   the Amended Complaint.

         90.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 90 of the Amended Complaint.

   Nefarious Lies

         91.    The Herischi Defendants deny the allegations contained in paragraph 91 of

   the Amended Complaint.

         92.    The Herischi Defendants deny the allegations contained in paragraph 92 of

   the Amended Complaint.


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          93.    Herischi Defendants admit that Mohammad Zargar, Shahriar Ebrahimian,

   Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali Adampeyra each provided

   $500,000 for a limited partnership unit in Palm House, along with an administrative fee of

   $40,000, but deny the remaining allegations contained in paragraph 93 of the Amended

   Complaint.

          94.    The Herischi Defendants admit that the Herischi Defendants and the Iranian

   Plaintiffs were informed that the Iranian Plaintiffs’ funds were to be held in escrow pending

   the approval of their applications, but otherwise lack knowledge sufficient to form a belief

   about the truth of the allegations contained in paragraph 94 of the Amended Complaint.

          95.    The Herischi Defendants admit that the Herischi Defendants and the Iranian

   Plaintiffs were informed that the Iranian Plaintiffs’ funds were to be held in escrow pending

   the approval of their EB-5 applications, but otherwise lack knowledge sufficient to form a

   belief about the truth of the allegations contained in paragraph 95 of the Amended

   Complaint.

          96.    The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 96 of the Amended Complaint.

          97.    The terms of PPM speak for themselves.             The Herischi Defendants

   otherwise lack knowledge sufficient to form a belief about the truth of the allegations

   contained in paragraph 97 of the Amended Complaint.

          98.    The terms of the Limited Partnership Agreement speak for themselves. The

   Herischi Defendants otherwise lack knowledge sufficient to form a belief about the truth of

   the allegations contained in paragraph 98 of the Amended Complaint.

          99.    The terms of the Loan Documents speak for themselves. The Herischi


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   Defendants otherwise lack knowledge sufficient to form a belief about the truth of the

   allegations contained in paragraph 99 of the Amended Complaint.

          100.   The Herischi Defendants admit that the Herischi Defendants and the Iranian

   Plaintiffs were informed that the Iranian Plaintiffs’ funds were to be held in escrow pending

   the approval of their EB-5 applications, but otherwise lack knowledge sufficient to form a

   belief about the truth of the allegations contained in paragraph 100 of the Amended

   Complaint.

          101.   The terms of the Offering Documents speak for themselves. The Herischi

   Defendants otherwise deny the allegations contained in paragraph 101 of the Amended

   Complaint (including the allegations contained in subsections (a) through (p) of that

   paragraph).

          102.   The Herischi Defendants deny the allegations contained in paragraph 102

   of the Amended Complaint.

          103.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 103 of the Amended Complaint.

          104.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 104 of the Amended Complaint.

          105.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 105 of the Amended Complaint.

          106.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 106 of the Amended Complaint.

          107.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 107 of the Amended Complaint.


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         108.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 108 of the Amended Complaint (including

   the allegations of subsections (a) through (u) of that paragraph).

         109.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 109 of the Amended Complaint.

         110.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 110 of the Amended Complaint.

         111.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 111 of the Amended Complaint.

         112.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 112 of the Amended Complaint.

         113.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 113 of the Amended Complaint.

         114.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 114 of the Amended Complaint.

         115.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 115 of the Amended Complaint.

         116.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 116 of the Amended Complaint.

         117.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 117 of the Amended Complaint.

         118.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 118 of the Amended Complaint.


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          119.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 119 of the Amended Complaint.

          120.   The Herischi Defendants deny the allegations contained in paragraph 120

   of the Amended Complaint.

          121.   The Herischi Defendants deny the allegations contained in paragraph 121

   of the Amended Complaint.

          122.   The Herischi Defendants deny the allegations contained in paragraph 122

   of the Amended Complaint.

          123.   The Herischi Defendants deny the allegations contained in paragraph 123

   of the Amended Complaint.

          124.   The Herischi Defendants deny the allegations contained in paragraph 124

   of the Amended Complaint (including the allegations contained in subsections (a) through

   (t) of that paragraph).

          125.   The Herischi Defendants deny the allegations contained in paragraph 125

   of the Amended Complaint.

          126.   The Herischi Defendants deny the allegations contained in paragraph 126

   of the Amended Complaint.

          127.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 127 of the Amended Complaint.

          128.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 128 of the Amended Complaint.

          129.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 129 of the Amended Complaint.


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         130.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 130 of the Amended Complaint.

         131.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 131 of the Amended Complaint (including

   the allegations contained in subsections (a) through (p) of that paragraph).

         132.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 132 of the Amended Complaint.

         133.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 133 of the Amended Complaint.

         134.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 134 of the Amended Complaint.

         135.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 135 of the Amended Complaint.

         136.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 136 of the Amended Complaint.

         137.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 137 of the Amended Complaint.

         138.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 138 of the Amended Complaint.

         139.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 139 of the Amended Complaint.

         140.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 140 of the Amended Complaint.


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   Plaintiffs are Fraudulently Induced to Invest in the Palm House EB-5 Offering

         141.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 141 of the Amended Complaint.

         142.   The Herischi Defendants admit that Mohammad Zargar, Shahriar

   Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali Adampeyra each

   provided $500,000 for a limited partnership unit in Palm House, along with an

   administrative fee of $40,000, but deny the remaining allegations contained in paragraph

   142 of the Amended Complaint.

         143.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 143 of the Amended Complaint.

         144.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 144 of the Amended Complaint.

         145.   The Herischi Defendants admit that Mohammad Zargar, Shahriar

   Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali Adampeyra each

   received confirmation that their $500,000 had been received, but deny the remaining

   allegations contained in paragraph 142 of the Amended Complaint.

         146.   The Herischi Defendants deny the allegations contained in paragraph 146

   of the Amended Complaint.

         147.   The Herischi Defendants deny the allegations contained in paragraph 147

   of the Amended Complaint.

         148.   The Herischi Defendants deny the allegations contained in paragraph 148

   of the Amended Complaint.

         149.   The Herischi Defendants deny the allegations contained in paragraph 149


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   of the Amended Complaint.

         150.   The Herischi Defendants deny the allegations contained in paragraph 150

   of the Amended Complaint.

         151.   The Herischi Defendants deny the allegations contained in paragraph 151

   of the Amended Complaint.

         152.   The Herischi Defendants deny the allegations contained in paragraph 152

   of the Amended Complaint.

         153.   The Herischi Defendants deny the allegations contained in paragraph 153

   of the Amended Complaint.

         154.   The Herischi Defendants deny the allegations contained in paragraph 154

   of the Amended Complaint.

         155.   The Herischi Defendants deny the allegations contained in paragraph 155

   of the Amended Complaint.

         156.   The Herischi Defendants deny the allegations contained in paragraph 156

   of the Amended Complaint.

         157.   The Herischi Defendants deny the allegations contained in paragraph 157

   of the Amended Complaint.

         158.   The Herischi Defendants deny the allegations contained in paragraph 158

   of the Amended Complaint.

         159.   The Herischi Defendants deny the allegations contained in paragraph 159

   of the Amended Complaint.

         160.   The Herischi Defendants deny the allegations contained in paragraph 160

   of the Amended Complaint.


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         161.   The Herischi Defendants deny the allegations contained in paragraph 161

   of the Amended Complaint.

         162.   The Herischi Defendants deny the allegations contained in paragraph 162

   of the Amended Complaint.

         163.   The Herischi Defendants deny the allegations contained in paragraph 163

   of the Amended Complaint.

         164.   The Herischi Defendants deny the allegations contained in paragraph 164

   of the Amended Complaint.

         165.   The Herischi Defendants deny the allegations contained in paragraph 165

   of the Amended Complaint.

         166.   The Herischi Defendants deny the allegations contained in paragraph 166

   of the Amended Complaint.

         167.   The Herischi Defendants deny the allegations contained in paragraph 167

   of the Amended Complaint.

         168.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 168 of the Amended Complaint.

         169.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 169 of the Amended Complaint.

         170.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 170 of the Amended Complaint.

         171.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 171 of the Amended Complaint.

         172.   The Herischi Defendants lack knowledge sufficient to form a belief about the


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   truth of the allegations contained in paragraph 172 of the Amended Complaint.

         173.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 173 of the Amended Complaint.

         174.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 174 of the Amended Complaint.

         175.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 175 of the Amended Complaint.

         176.   The Herischi Defendants deny the allegations contained in paragraph 176

   of the Amended Complaint.

         177.   The Herischi Defendants deny the allegations contained in paragraph 177

   of the Amended Complaint.

         178.   The Herischi Defendants deny the allegations contained in paragraph 178

   of the Amended Complaint.

   Plaintiffs’ I-526 Applications are Denied by USCIS

         179.   The Herischi Defendants admit that the Herischi Defendants and Mohammad

   Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali

   Adampeyra were notified that the applications of Mohammad Zargar, Shahriar Ebrahimian,

   Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali Adampeyra were accepted within

   SARC’s program for the Palm House investment, but otherwise deny the allegations

   contained in paragraph 179 of the Amended Complaint.

         180.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 180 of the Amended Complaint.

         181.   The Herischi Defendants admit that the applications of Mohammad Zargar,


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   Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali Adampeyra

   were denied by USCIS, but otherwise deny the allegations contained in paragraph 181 of

   the Amended Complaint.

         182.   The denial letter to each individual Plaintiff speaks for itself, such as Exhibit

   M, and thus the Herischi Defendants deny the allegations contained in paragraph 182 of

   the Amended Complaint.

         183.   The denial letter to each individual Plaintiff speaks for itself, such as Exhibit

   M, and thus the Herischi Defendants deny the allegations contained in paragraph 183 of

   the Amended Complaint.

         184.   The denial letter to each individual Plaintiff speaks for itself, such as Exhibit

   M, and thus the Herischi Defendants deny the allegations contained in paragraph 184 of

   the Amended Complaint.

         185.   The Herischi Defendants admit that, with the assistance of the Herischi

   Defendants, Mohammad Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin,

   Sanaz Salehin, and Ali Adampeyra demanded the return of their funds.

         186.   The Herischi Defendants deny the allegations contained in paragraph 186

   of the Amended Complaint.

         187.   The Herischi Defendants deny the allegations contained in paragraph 187

   of the Amended Complaint.

         188.   The Herischi Defendants deny the allegations contained in paragraph 188

   of the Amended Complaint.

         189.   The Herischi Defendants deny the allegations contained in paragraph 189

   of the Amended Complaint.


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         190.   The Herischi Defendants deny the allegations contained in paragraph 190

   of the Amended Complaint.

         191.   The Herischi Defendants deny the allegations contained in paragraph 191

   of the Amended Complaint.

         192.   The Herischi Defendants deny the allegations contained in paragraph 192

   of the Amended Complaint.

         193.   The Herischi Defendants deny the allegations contained in paragraph 193

   of the Amended Complaint.

         194.   The Herischi Defendants deny the allegations contained in paragraph 194

   of the Amended Complaint.

         195.   The Herischi Defendants deny the allegations contained in paragraph 195

   of the Amended Complaint.

         196.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 196 of the Amended Complaint.

         197.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 197 of the Amended Complaint.

         198.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 198 of the Amended Complaint.

         199.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 199 of the Amended Complaint.

         200.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 200 of the Amended Complaint.

         201.   The Herischi Defendants lack knowledge sufficient to form a belief about the


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   truth of the allegations contained in paragraph 201 of the Amended Complaint.

         202.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 202 of the Amended Complaint.

         203.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 203 of the Amended Complaint.

         204.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 204 of the Amended Complaint.

         205.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 205 of the Amended Complaint.

         206.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 206 of the Amended Complaint.

         207.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 206 of the Amended Complaint.

         208.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 208 of the Amended Complaint.

         209.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 209 of the Amended Complaint.

         210.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 210 of the Amended Complaint.

         211.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 211 of the Amended Complaint.

         212.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 212 of the Amended Complaint.


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          213.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 213 of the Amended Complaint.

          214.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 214 of the Amended Complaint.

          215.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 215 of the Amended Complaint.

          216.   The Herischi Defendants admit that, with the assistance of the Herischi

   Defendants, Mohammad Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin,

   Sanaz Salehin, and Ali Adampeyra hired legal counsel to investigate the Palm House, the

   project, and the individuals involved.     The Herischi Defendants otherwise deny the

   allegations contained in paragraph 216 of the Amended Complaint.

   The Fraud and Theft are Discovered

          217.   The   Herischi   Defendants     deny    that   they   made   any    fraudulent

   misrepresentations to the Plaintiffs but otherwise lack knowledge sufficient to form a belief

   about the truth of the allegations contained in paragraph 217 of the Amended Complaint.

          218.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 218 of the Amended Complaint.

          219.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 219 of the Amended Complaint.

          220.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 210 of the Amended Complaint.

          221.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 221 of the Amended Complaint.


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         222.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 222 of the Amended Complaint.

         223.   The Herischi Defendants deny that they received any of the funds described

   in paragraph 223 of the Amended Complaint. The Herischi Defendants lack knowledge

   sufficient to form a belief about the truth of the remaining allegations contained in

   paragraph 223 of the Amended Complaint (including the allegations contained in

   subsections (a) through (c) of that paragraph)

         224.   The Herischi Defendants deny the allegations contained in paragraph 224

   of the Amended Complaint.

         225.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 225 of the Amended Complaint.

         226.   The Herischi Defendants deny the allegations contained in paragraph 226

   of the Amended Complaint.

         227.   The Herischi Defendants deny the allegations contained in paragraph 227

   of the Amended Complaint.

         228.   The Herischi Defendants deny the allegations contained in paragraph 228

   of the Amended Complaint.

         229.   The Herischi Defendants deny the allegations contained in paragraph 229

   of the Amended Complaint.

         230.   The Herischi Defendants deny the allegations contained in paragraph 230

   of the Amended Complaint.

         231.   The Herischi Defendants deny the allegations contained in paragraph 231

   of the Amended Complaint.


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         232.   The Herischi Defendants deny the allegations contained in paragraph 232

   of the Amended Complaint.

         233.   The Herischi Defendants deny the allegations contained in paragraph 233

   of the Amended Complaint.

         234.   The Herischi Defendants deny the allegations contained in paragraph 234

   of the Amended Complaint.

         235.   The Herischi Defendants deny the allegations contained in paragraph 235

   of the Amended Complaint.

         236.   The Herischi Defendants deny the allegations contained in paragraph 236

   of the Amended Complaint.

         237.   The Herischi Defendants deny the allegations contained in paragraph 237

   of the Amended Complaint.

         238.   The Herischi Defendants deny the allegations contained in paragraph 238

   of the Amended Complaint.

         239.   The Herischi Defendants deny the allegations contained in paragraph 239

   of the Amended Complaint.

         240.   The Herischi Defendants deny the allegations contained in paragraph 240

   of the Amended Complaint.

         241.   The Herischi Defendants deny the allegations contained in paragraph 241

   of the Amended Complaint.

         242.   The Herischi Defendants deny the allegations contained in paragraph 242

   of the Amended Complaint.

         243.   The Herischi Defendants deny the allegations contained in paragraph 243


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   of the Amended Complaint.

         244.   The Herischi Defendants deny the allegations contained in paragraph 244

   of the Amended Complaint.

         245.   The Herischi Defendants deny the allegations contained in paragraph 245

   of the Amended Complaint.

         246.   The Herischi Defendants deny the allegations contained in paragraph 246

   of the Amended Complaint.

         247.   The Herischi Defendants deny the allegations contained in paragraph 247

   of the Amended Complaint.

         248.   The Herischi Defendants deny the allegations contained in paragraph 204

   of the Amended Complaint.

         249.   The Herischi Defendants deny the allegations contained in paragraph 249

   of the Amended Complaint.

         250.   The Herischi Defendants deny the allegations contained in paragraph 250

   of the Amended Complaint.

         251.   The Herischi Defendants deny the allegations contained in paragraph 251

   of the Amended Complaint.

         252.   The Herischi Defendants deny the allegations contained in paragraph 252

   of the Amended Complaint.

         253.   The Herischi Defendants deny the allegations contained in paragraph 253

   of the Amended Complaint.

         254.   The Herischi Defendants deny the allegations contained in paragraph 254

   of the Amended Complaint.


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         255.   The Herischi Defendants deny the allegations contained in paragraph 255

   of the Amended Complaint.

         256.   The Herischi Defendants deny the allegations contained in paragraph 256

   of the Amended Complaint.

         257.   The Herischi Defendants deny the allegations contained in paragraph 257

   of the Amended Complaint.

         258.   The Herischi Defendants deny the allegations contained in paragraph 258

   of the Amended Complaint.

         259.   The Herischi Defendants deny the allegations contained in paragraph 259

   of the Amended Complaint.

   Defendants’ Receipt of Stolen Funds

         260.   The Herischi Defendants deny the allegations contained in paragraph 260

   of the Amended Complaint.

         261.   The Herischi Defendants admit that, with the assistance of the Herischi

   Defendants, Mohammad Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin,

   Sanaz Salehin, and Ali Adampeyra deposited their money in the Escrow Account at PNC

   Bank. The Herischi Defendants otherwise deny the allegations contained in paragraph 261

   of the Amended Complaint.

         262.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 262 of the Amended Complaint.

         263.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 263 of the Amended Complaint.

         264.   The Herischi Defendants deny that they received any of the funds described


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   in paragraph 264 of the Amended Complaint. The Herischi Defendants lack sufficient

   knowledge to form a belief about the truth of the remaining allegations contained in

   paragraph 264 of the Amended Complaint.

         265.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 265 of the Amended Complaint.

         266.   The Herischi Defendants deny that they received any of the funds described

   in paragraph 266 of the Amended Complaint. The Herischi Defendants lack sufficient

   knowledge to form a belief about the truth of the remaining allegations contained in

   paragraph 266 of the Amended Complaint.

         267.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 267 of the Amended Complaint.

         268.   The Herischi Defendants deny that they received any of the funds described

   in paragraph 268 of the Amended Complaint. The Herischi Defendants lack sufficient

   knowledge to form a belief about the truth of the remaining allegations contained in

   paragraph 268 of the Amended Complaint.

         269.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 269 of the Amended Complaint.

         270.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 270 of the Amended Complaint (including

   the allegations contained in subsections (a) through (h) of that paragraph).

         271.   The Herischi Defendants deny that they received any of the funds described

   in paragraph 271 of the Amended Complaint. The Herischi Defendants lack sufficient

   knowledge to form a belief about the truth of the remaining allegations contained in


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   paragraph 271 of the Amended Complaint.

         272.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 272 of the Amended Complaint.

         273.   The Herischi Defendants deny the allegations contained in paragraph 273

   of the Amended Complaint.

         274.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 274 of the Amended Complaint.

         275.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 275 of the Amended Complaint.

         276.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 276 of the Amended Complaint.

         277.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 277 of the Amended Complaint.

         278.   The Herischi Defendants deny the allegations contained in paragraph 278

   of the Amended Complaint.

         279.   The Herischi Defendants deny the allegations contained in paragraph 279

   of the Amended Complaint.

   Where Things Stand Now

         280.   The Herischi Defendants admit that lawsuits are pending related to the Palm

   House Project, but otherwise deny the allegations contained in paragraph 280 of the

   Amended Complaint.

         281.   The Herischi Defendants deny the allegations contained in paragraph 281

   of the Amended Complaint.


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         282.   The Herischi Defendants lack knowledge sufficient to form a belief about the

   truth of the allegations contained in paragraph 282 of the Amended Complaint

         283.   The Herischi Defendants deny that they received any of the funds described

   in paragraph 283 of the Amended Complaint. The Herischi Defendants lack sufficient

   knowledge to form a belief about the truth of the remaining allegations contained in

   paragraph 283 of the Amended Complaint.

         284.   The Herischi Defendants admit that Mohammad Zargar, Shahriar

   Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali Adampeyra have not

   received an EB-5 visa or an I-526 petition approval. The Herischi Defendants lack

   knowledge sufficient to form a belief about the truth of the allegations contained in

   paragraph 284 of the Amended Complaint.

         285.   The Herischi Defendants deny the allegations contained in paragraph 285

   of the Amended Complaint.

         286.   The Herischi Defendants lack knowledge sufficient to form a belief as to the

   truth of the allegations contained in paragraph 286 of the Amended Complaint.

         287.   The Herischi Defendants admit that Ali Herischi sent the letter attached as

   Exhibit O to the Amended Complaint but deny that they had any role in any scheme, and

   otherwise deny the allegations contained in paragraph 287 of the Amended Complaint.

         288.   The Herischi Defendants lack knowledge sufficient to form a belief as to the

   truth of the allegations contained in paragraph 288 of the Amended Complaint.

         289.   The Herischi Defendants admit that Mohammad Zargar, Shahriar

   Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali Adampeyra have not

   received an EB-5 visa or an I-526 petition approval. The Herischi Defendants lack


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   knowledge sufficient to form a belief about the truth of the remaining allegations contained

   in paragraph 289 of the Amended Complaint.

          290.   The Herischi Defendants admit that the Plaintiffs come to the Court seeking

   relief, but deny that they Plaintiffs are entitled to any of the relief sought in the Amended

   Complaint as it pertains to the Herischi Defendants.

   COUNT I - Injunctive Relief Against All Defendants Under Fla. Stat. §§ 812.035(1),(6)

          291.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          292.   The Herischi Defendants admit that Mohammad Zargar, Shahriar

   Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali Adampeyra provided

   $500,000 plus $40,000 in administrative fees. The Herischi Defendants lack information

   sufficient to form a belief as to the truth of the remaining allegations contained in paragraph

   292 of the Amended Complaint.

          293.   The Herischi Defendants lack sufficient knowledge to form a belief about the

   truth of the allegations contained in paragraph 293 of the Amended Complaint.

          294.   The Herischi Defendants lack sufficient knowledge to form a belief about the

   truth of the allegations contained in paragraph 294 of the Amended Complaint.

          295.   The Herischi Defendants deny the allegations contained in paragraph 295

   of the Amended Complaint.

          296.   The Herischi Defendants deny the allegations contained in paragraph 296

   of the Amended Complaint.

          297.   The Herischi Defendants deny the truth of the allegations contained in

   paragraph 297 of the Amended Complaint.


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          298.   The Herischi Defendants deny the allegations contained in paragraph 298

   of the Amended Complaint.

          299.   The Herischi Defendants lack sufficient knowledge to form a belief about the

   truth of the allegations contained in paragraph 299 of the Amended Complaint.

          300.   The Herischi Defendants deny the allegations contained in paragraph 300

   of the Amended Complaint.

          301.   The Herischi Defendants deny the allegations contained in paragraph 301

   of the Amended Complaint.

          302.   The Herischi Defendants deny the allegations contained in paragraph 302

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count I of the Amended Complaint as

   it pertains to the Herischi Defendants.

                     COUNT II - Dissolution of Palm House Hotel LLP

          303.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          304.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          305.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          306.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          307.   Count II of the Amended Complaint does not seek relief against the Herischi


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   Defendants, and thus no response is required.

          308.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          309.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          310.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          311.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          312.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          313.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          314.   Count II of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

         COUNT III - Conversion Against All Defendants (excluding Palm House)

          315.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          316.   The Herischi Defendants deny the allegations contained in paragraph 316

   of the Amended Complaint.

          317.   The Herischi Defendants deny the allegations contained in paragraph 317

   of the Amended Complaint.

          318.   The Herischi Defendants deny the allegations contained in paragraph 318


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   of the Amended Complaint.

          319.   The Herischi Defendants deny the allegations contained in paragraph 319

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count III of the Amended Complaint

   as it pertains to the Herischi Defendants.

     COUNT IV - Fraud in the Inducement against SARC, USREDA, JJW Consultancy
       Ltd., Walsh, Walsh Jr., Payne, Derrico, Ryan Black, and Robert Matthews

          320.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          321.   Count IV of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          322.   Count IV of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          323.   Count IV of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          324.   Count IV of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          325.   Count IV of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          326.   Count IV of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          327.   Count IV of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

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          328.   Count IV of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          329.   Count IV of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

     COUNT V - Fraud in the Inducement Against SARC, USREDA, JJW Consultancy
    Ltd., Walsh, Walsh Jr., Payne Derrico, Ryan Black, Robert Matthews, Ali Herischi,
                             and Herischi & Associates, LLC

          330.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          331.   The Herischi Defendants lack sufficient knowledge to form a belief about the

   truth of the allegations contained in paragraph 331 of the Amended Complaint.

          332.   The Herischi Defendants deny the allegations contained in paragraph 332

   of the Amended Complaint.

          333.   The Herischi Defendants deny the allegations contained in paragraph 333

   of the Amended Complaint.

          334.   The Herischi Defendants deny the allegations contained in paragraph 334

   of the Amended Complaint.

          335.   The Herischi Defendants deny the allegations contained in paragraph 335

   of the Amended Complaint.

          336.   The Herischi Defendants deny the allegations contained in paragraph 336

   of the Amended Complaint.

          337.   The Herischi Defendants deny the allegations contained in paragraph 337

   of the Amended Complaint.

          338.   The Herischi Defendants deny the allegations contained in paragraph 338


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   of the Amended Complaint.

          339.   The Herischi Defendants deny the allegations contained in paragraph 339

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count V of the Amended Complaint

   as it pertains to the Herischi Defendants.

   COUNT VI - Fraud in the Inducement Against SARC, USREDA, JJW Consultancy Ltd.,
   Walsh, Walsh Jr., Payne, Derrico, Ryan Black, Robert Matthews, and Eric Erkan Nur

          340.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          341.   Count VI of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          342.   Count VI of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          343.   Count VI of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          344.   Count VI of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          345.   Count VI of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          346.   Count VI of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          347.   Count VI of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

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          348.   Count VI of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

      Count VII - Fraud Against SARC, USREDA, Walsh, Walsh Jr., Payne, and JJW
                                   Consultancy Ltd.

          349.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          350.   Count VII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          351.   Count VII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          352.   Count VII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          353.   Count VII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

    COUNT VIII - Fraud Against SARC, USREDA, Walsh, Walsh Jr., Payne, Ali Herischi
                            and Herischi & Associates, LLC

          354.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          355.   The Herischi Defendants deny the allegations contained in paragraph 355

   of the Amended Complaint.

          356.   The Herischi Defendants deny the allegations contained in paragraph 356

   of the Amended Complaint (including the allegations contained in subsections (a) through

   (d) of that paragraph).

          357.   The Herischi Defendants deny the allegations contained in paragraph 357


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   of the Amended Complaint.

          358.   The Herischi Defendants deny the allegations contained in paragraph 358

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count VIII of the Amended Complaint

   as it pertains to the Herischi Defendants.

    COUNT IX - Aiding and Abetting Fraud Against Robert Matthews, Maria a/k/a Mia
           Matthews, Gerry Matthews, Ryan Black, and Nicholas Laudano

          359.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          360.   Count IX of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          361.   Count IX of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          362.   Count IX of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          363.   Count IX of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          364.   Count IX of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          365.   Count IX of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          366.   Count IX of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

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          367.   Count IX of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          368.   Count IX of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

         COUNT X - Breach of Fiduciary Duty Against SARC, Walsh, and Payne

          369.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          370.   Count X of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          371.   Count X of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          372.   Count X of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          373.   Count X of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          374.   Count X of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          375.   Count X of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          376.   Count X of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

                  COUNT XI - Breach of Fiduciary Duty Against Herischi
                            and Herischi & Associates LLC

          377.   The Herischi Defendants incorporate their responses set forth in paragraphs

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   1-290 above as if stated fully herein.

          378.   The Herischi Defendants admit that they were engaged by Mohammad

   Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin, and Ali

   Adampeyra in connection with the submission of their immigration applications. The

   Herischi Defendants’ responsibilities were explicitly defined by the Engagement Agreement

   between the parties as follows:

                 1-     If required, apply to acquire a license from Office of
                        Foreign Asset Control (OFAC) for an Iranian to invest in
                        a Regional Center.

                 2-     Open necessary bank accounts to accommodate the
                        money transfer, including an escrow account.

                 3-     File applicable USCIS forms for the applicant and
                        his/her family in regards to the EB-5 application. Client
                        has chosen South Atlantic Regional Center for his
                        investment.

                 4-     Facilitate the return of the investment to the investor
                        upon the distribution by the Regional Center.
                                               ...
                 Note. This Engagement letter does not cover the removal of
                 condition after two years of residency.

   The Herischi Defendants deny that they had any attorney-client relationship with

   Mohammad Reza Sedaghat, or any other of the Plaintiffs. The Herischi Defendants deny

   that they were business advisors to any of the Plaintiffs in any way. Indeed, any such

   relationship is expressly disclaimed in each client’s Engagement Agreement as follows:

                 The firm is not retained to provide investment advice. We are
                 working with Client to evaluate the Regional Center business
                 opportunity, but limited to the Immigration laws governing the
                 EB-5 application. Our scope of engagement does not cover
                 any investment advice or evaluation of an investment
                 opportunity. We are not responsible for Client’s business
                 decisions. The firm does not and never have guaranteed any
                 investment outcome. In addition, the Eb-5 application’s

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                 approval is also not guaranteed by our firm.

   The Herischi Defendants otherwise deny the allegations contained in paragraph 378 of the

   Amended Complaint.

          379.   The Herischi Defendants admit that they had fiduciary responsibilities to

   Mohammad Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin,

   and Ali Adampeyra as limited by the terms of the Engagement Agreement. The Herischi

   Defendants deny any fiduciary relationship with MohammadReza Sedaghat or any of the

   other Plaintiffs. The Herischi Defendants deny the existence of any fiduciary relationship

   related to the Plaintiffs’ business or investment decisions, which is beyond the scope of the

   terms of the Engagement Agreement, and otherwise deny the allegations contained in

   paragraph 279 of the Amended Complaint.

          380.   The Herischi Defendants admit that they had fiduciary responsibilities to

   Mohammad Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin, Sanaz Salehin,

   and Ali Adampeyra as limited by the terms of the Engagement Agreement. The Herischi

   Defendants deny any fiduciary relationship with MohammadReza Sedaghat or any of the

   other Plaintiffs. The Herischi Defendants deny the existence of any fiduciary relationship

   related to the Plaintiffs’ business or investment decisions, which is beyond the scope of the

   terms of the Engagement Agreement, and otherwise deny the allegations contained in

   paragraph 280 of the Amended Complaint.

          381.   The Herischi Defendants deny the allegations contained in paragraph 381

   of the Amended Complaint.

          382.   The Herischi Defendants deny the allegations contained in paragraph 382

   of the Amended Complaint.


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          383.   The Herischi Defendants deny the allegations contained in paragraph 382

   of the Amended Complaint.

          384.   The Herischi Defendants deny the allegations contained in paragraph 384

   of the Amended Complaint.

          385.   The Herischi Defendants deny the allegations contained in paragraph 385

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count XI of the Amended Complaint

   with respect to the Herischi Defendants.

       COUNT XII - Aiding and Abetting Breach of Fiduciary Duty Against Robert
     Matthews, Maria a/k/a Mia Matthews, Gerry Matthews, Ryan Black, and Nicholas
                                       Laudano

          386.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          387.   Count XII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          388.   Count XII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          389.   Count XII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          390.   Count XII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

          391.   Count XII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.


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          392.   Count XII of the Amended Complaint does not seek relief against the Herischi

   Defendants, and thus no response is required.

        COUNT XIII - Avoidance of Fraudulent Transfers Pursuant to Fla. Stat. §
     726.105(1)(a) Against USREDA, KK-PB Financial LLC, Evans Defendants, New
              Haven Contracting South Inc. and 160 Royal Palm Way LLC

          393.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          394.   Count XIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          395.   Count XIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          396.   Count XIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          397.   Count XIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          398.   Count XIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          399.   Count XIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          400.   Count XIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          401.   Count XIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          402.   Count XIII of the Amended Complaint does not seek relief against the


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   Herischi Defendants, and thus no response is required.

          403.   Count XIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

        COUNT XIV - Avoidance of Fraudulent Transfers Pursuant to Fla. Stat. §
     726.105(1)(b) Against USREDA, KK-PB Financial LLC, Evans Defendants, New
              Haven Contracting South Inc. and 160 Royal Palm Way LLC

          404.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          405.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          406.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          407.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          408.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          409.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          410.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          411.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          412.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.


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          413.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          414.   Count XIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

     COUNT XV - Avoidance of Fraudulent Transfers Pursuant to Fla. Stat. § 726.106
        Against USREDA, KK-PB Financial LLC, Evans Defendants, New Haven
                 Contracting South Inc. And 160 Royal Palm Way LLC

          415.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          416.   Count XV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          417.   Count XV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          418.   Count XV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          419.   Count XV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          420.   Count XV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          421.   Count XV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          422.   Count XV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          423.   Count XV of the Amended Complaint does not seek relief against the


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   Herischi Defendants, and thus no response is required.

          424.   Count XV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

    COUNT XVI - Violation of Florida Securities and Investor Protection Act, Fla. Stat.
    § 517.011 et seq. Against SARC, USREDA, Walsh, Walsh Jr. , Payne Derrico, and
                                    Robert Matthews

          425.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          426.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          427.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          428.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          429.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          430.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          431.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          432.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          433.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.


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          434.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          435.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          436.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          437.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          438.   Count XVI of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

    COUNT XVII - Violation of Florida Securities and Investor Protection Act. Fla. Stat.
    § 517.011 et. Seq. Against SARC, USREDA, Walsh, Walsh Jr., Payne, Derrico, and
                                        Herischi

          439.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          440.   The Herischi Defendants admit that the Plaintiffs purport to bring an action

   for the Florida Securities and Investor Protection Act (“FSIPA”), but deny both that the

   Herischi Defendants committed any violations of that Act and that Plaintiffs are entitled to

   any of the relief requested in this Count.

          441.   The allegations contained in paragraph 441 consist of legal conclusions and

   thus no response is required from the Herischi Defendants.

          442.   The allegations contained in paragraph 442 consist of legal conclusions and

   thus no response is required.

          443.   The allegations contained in paragraph 443 consist of legal conclusions and


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   thus no response is required from the Herischi Defendants.

         444.   The allegations contained in paragraph 444 consist of legal conclusions and

   thus no response is required from the Herischi Defendants.

         445.   The Herischi Defendants deny the allegations contained in paragraph 445

   of the Amended Complaint.

         446.   The Herischi Defendants deny the allegations contained in paragraph 446

   of the Amended Complaint.

         447.   The Herischi Defendants deny the allegations contained in paragraph 447

   of the Amended Complaint.

         448.   The Herischi Defendants deny the allegations contained in paragraph 448

   of the Amended Complaint.

         449.   The Herischi Defendants deny the allegations contained in paragraph 449

   of the Amended Complaint.

         450.   The Herischi Defendants deny the allegations contained in paragraph 450

   of the Amended Complaint.

         451.   The Herischi Defendants deny the allegations contained in paragraph 451

   of the Amended Complaint.

         452.   The Herischi Defendants deny the allegations contained in paragraph 452

   of the Amended Complaint.

         The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count XVII of the Amended Complaint

   as it pertains to the Herischi Defendants.




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      COUNT XVIII - Violation of Florida Securities and Investor Protection Act. Fla.
    Stat. § 517.011 et seq. Against SARC, USREDA, Walsh, Walsh Jr., Payne, Derrico,
                                      and Erkan Nur

          453.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          454.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          455.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          456.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          457.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          458.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          459.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          460.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          461.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          462.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          463.   Count XVIII of the Amended Complaint does not seek relief against the


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   Herischi Defendants, and thus no response is required.

          464.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          465.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          466.   Count XVIII of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

                 COUNT XIX - Unjust Enrichment Against All Defendants

          467.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          468.   The Herischi Defendants deny the allegations contained in paragraph 468

   of the Amended Complaint.

          469.   The Herischi Defendants deny the allegations contained in paragraph 469

   of the Amended Complaint.

          470.   The Herischi Defendants deny the allegations contained in paragraph 470

   of the Amended Complaint.

          471.   The Herischi Defendants deny the allegations contained in paragraph 471

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count XIX of the Amended Complaint

   as it pertains to the Herischi Defendants.




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     COUNT XX - Violation of Florida Deceptive and Unfair Trade Practices Act, Fla.
     Stat. § 501.201 et. seq., Against All Defendants (excluding Palm House, Evans
                         Defendants, Derrico, and Eric Erkan Nur)

          472.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          473.   The Herischi Defendants deny the allegations contained in paragraph 473

   of the Amended Complaint.

          474.   The allegations contained in paragraph 474 of the Amended Complaint

   consist of legal conclusions and thus no response is required.

          475.   The Herischi Defendants deny the allegations contained in paragraph 475

   of the Amended Complaint.

          476.   The Herischi Defendants deny the allegations contained in paragraph 476

   of the Amended Complaint.

          477.   The Herischi Defendants deny the allegations contained in paragraph 477

   of the Amended Complaint (including the allegations contained in subparagraphs (a)

   through (h) of that paragraph).

          478.   The Herischi Defendants deny the allegations contained in paragraph 478

   of the Amended Complaint.

          479.   The Herischi Defendants deny the allegations contained in paragraph 479

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count XX of the Amended Complaint

   as it pertains to the Herischi Defendants.




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                 COUNT XXI - Equitable Accounting Against All Defendants

          480.    The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          481.   The Herischi Defendants lack sufficient knowledge to form a belief about the

   truth of the allegations contained in paragraph 481 of the Amended Complaint.

          482.   The Herischi Defendants deny the allegations contained in paragraph 482

   of the Amended Complaint.

          483.   The Herischi Defendants deny the allegations contained in paragraph 483

   of the Amended Complaint.

          484.   The Herischi Defendants deny the allegations contained in paragraph 484

   of the Amended Complaint.

          485.   The Herischi Defendants admit that, with the assistance of the Herischi

   Defendants, Mohammad Zargar, Shahriar Ebrahimian, Reza Simak Nia, Sarah Salehin,

   Sanaz Salehin, and Ali Adampeyra demanded the return of their funds. The Herischi

   Defendants lack knowledge sufficient to form a belief about the truth of the remaining

   allegations contained in paragraph 485 of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count XXI of the Amended Complaint

   as it pertains to the Herischi Defendants.

   COUNT XXII - Civil Conspiracy Against All Defendants (excluding Palm House and
                               the Evans Defendants)

          486.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          487.   The Herischi Defendants deny the allegations contained in paragraph 487

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   of the Amended Complaint.

          488.   The Herischi Defendants deny the allegations contained in paragraph 488

   of the Amended Complaint.

          489.   The Herischi Defendants deny the allegations contained in paragraph 489

   of the Amended Complaint.

          490.   The Herischi Defendants deny the allegations contained in paragraph 490

   of the Amended Complaint.

          491.   The Herischi Defendants deny the allegations contained in paragraph 491

   of the Amended Complaint.

          492.   The Herischi Defendants deny the allegations contained in paragraph 492

   of the Amended Complaint.

          493.   The Herischi Defendants deny the allegations contained in paragraph 493

   of the Amended Complaint.

          494.   The Herischi Defendants deny the allegations contained in paragraph 494

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count XXII of the Amended Complaint

   as it pertains to the Herischi Defendants.

    COUNT XXIII - Constructive Fraud Against All Defendants (excluding Palm House
                              and the Evans Defendants)

          495.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          496.   The Herischi Defendants deny the allegations contained in paragraph 496

   of the Amended Complaint.

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          497.   The Herischi Defendants deny the allegations contained in paragraph 497

   of the Amended Complaint.

          498.   The Herischi Defendants deny the allegations contained in paragraph 498

   of the Amended Complaint.

          499.   The Herischi Defendants deny the allegations contained in paragraph 499

   of the Amended Complaint.

          500.   The Herischi Defendants deny the allegations contained in paragraph 500

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count XXIII of the Amended Complaint

   as it pertains to the Herischi Defendants.

                  COUNT XXIV - Equitable Lien Against Robert Matthews

          501.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          502.   Count XXIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          503.   Count XXIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          504.   Count XXIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          505.   Count XXIV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          506.   Count XXIV of the Amended Complaint does not seek relief against the


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   Herischi Defendants, and thus no response is required.

   COUNT XXV - Equitable Lien Against 160 Royal Palm LLC and KK-PB Financial, LLC

          507.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          508.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          509.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          510.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          511.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          512.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          513.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          514.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          515.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          516.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

          517.   Count XXV of the Amended Complaint does not seek relief against the


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   Herischi Defendants, and thus no response is required.

         518.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

         519.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

         520.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

         521.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

         522.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

         523.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

         524.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

         525.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required. To the extent that paragraph 525

   contains allegations against the Herischi Defendants, such allegations are denied.

         526.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

         527.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

         528.   Count XXV of the Amended Complaint does not seek relief against the


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   Herischi Defendants, and thus no response is required.

          529.   Count XXV of the Amended Complaint does not seek relief against the

   Herischi Defendants, and thus no response is required.

      COUNT XXVI - Violation of Section 10(b) of the Exchange Act and Rule 10b-5
      Promulgated Thereunder Against SARC, USREDA, Walsh, Walsh Jr., Payne,
    Derrico, Robert Matthews, Ali Herischi, JJW Consultancy Ltd., and Eric Erkan Nur

          530.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          531.   The Herischi Defendants deny the allegations contained in paragraph 531

   of the Amended Complaint.

          532.   The Herischi Defendants deny the allegations contained in paragraph 532

   of the Amended Complaint.

          533.   The Herischi Defendants deny the allegations contained in paragraph 533

   of the Amended Complaint.

          534.   The Herischi Defendants deny the allegations contained in paragraph 534

   of the Amended Complaint.

          535.   The Herischi Defendants deny the allegations contained in paragraph 535

   of the Amended Complaint.

          536.   The Herischi Defendants deny the allegations contained in paragraph 536

   of the Amended Complaint.

          537.   The Herischi Defendants deny the allegations contained in paragraph 537

   of the Amended Complaint.

          538.   The Herischi Defendants deny the allegations contained in paragraph 538

   of the Amended Complaint.


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          539.   The Herischi Defendants deny the allegations contained in paragraph 539

   of the Amended Complaint.

          540.   The Herischi Defendants deny the allegations contained in paragraph 540

   of the Amended Complaint.

          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count XXVI of the Amended

   Complaint as it pertains to the Herischi Defendants.

     COUNT XXVII - Violations of Section 20(a) of the Exchange Act Against SARC,
     USREDA, Walsh, Walsh Jr., Payne, Derrico, Robert Matthews, Ali Herischi, JJW
                        Consultancy Ltd., and Eric Erkan Nur

          541.   The Herischi Defendants incorporate their responses set forth in paragraphs

   1-290 above as if stated fully herein.

          542.   The Herischi Defendants deny the allegations contained in paragraph 542

   of the Amended Complaint.

          543.   The Herischi Defendants deny the allegations contained in paragraph 543

   of the Amended Complaint.

          544.   The Herischi Defendants deny the allegations contained in paragraph 544

   of the Amended Complaint.

          545.   The Herischi Defendants deny the allegations contained in paragraph 545

   of the Amended Complaint.

          546.   The Herischi Defendants deny the allegations contained in paragraph 546

   of the Amended Complaint.

          547.   The Herischi Defendants deny the allegations contained in paragraph 547

   of the Amended Complaint.


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          The Herischi Defendants deny that the Plaintiffs are entitled to any of the relief

   requested in the WHEREFORE clause contained in Count XXVII of the Amended

   Complaint as it pertains to the Herischi Defendants.

          548.   The Herischi Defendants deny that they had any contact or interactions with

   any of the Chinese Plaintiffs or the Turkish Plaintiff.

          549.   All allegations not specifically addressed are denied.

                                   AFFIRMATIVE DEFENSES

                                           First Defense

          As and for their first affirmative defense, the Herischi Defendants asserts that the

   Amended Complaint fails to state a claim upon which relief may be granted, as the

   Defendants are not properly identified in the causes of action, and the Plaintiff fails to state

   with specificity any of its related claims. As a result, the Amended Complaint fails to

   comport with the requirements of Rule 8 of the Federal Rules of Civil Procedure.

                                         Second Defense

          As and for their second affirmative defense, the Herischi Defendant assert the

   defense of laches or unreasonable delay. The Plaintiffs’ delay was not excusable; and the

   Herischi Defendants will be unduly prejudiced by the claims asserted against them.

                                          Third Defense

          As and for their third affirmative defense, the Herischi Defendants assert that the

   equitable claims made in the Plaintiffs’ Amended Complaint are barred by the doctrine of

   unclean hands.

                                         Fourth Defense

          As and for their fourth affirmative defense, the Herischi Defendants assert that the


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   equitable claims made in the Plaintiffs’ Amended Complaint are barred by the doctrine of

   estoppel.

                                        Fifth Defense

          As and for their fifth affirmative defense, the Herischi Defendants assert that the

   claims in the Plaintiffs’ Amended Complaint are barred by the doctrine of accord and

   satisfaction.

                         Reservation Regarding Additional Claims

          The Herischi Defendants explicitly reserve their right to amend their Answer and

   Affirmative Defenses to the Plaintiff’s Amended Complaint dated August 30, 2017 (ECF

   No. 181) and to bring his Counter-Claim and/or Third Party Complaint in this case after

   receiving appropriate discovery from the Plaintiffs and Co-Defendants.

                                            Respectfully submitted,

                                            By:    /s/ Alaina Fotiu-Wojtowicz
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                                 CERTIFICATE OF SERVICE

           I hereby certify that on this 2nd day of October, 2017, I electronically filed the
   foregoing document with the Clerk of the Court using CM/ECF. I also certify that the
   foregoing document is being served this day on all counsel of record or pro se parties
   identified on the attached Service List in the manner specified, either via transmission of
   Notices of Electronic Filing generated by CM/ECF or in some other authorized manner of
   those counsel or parties who are not authorized to receive electronically Notices of
   Electronic Filing.



                                                      s/ Alaina Fotiu-Wojtowicz
                                                    ALAINA FOTIU-WOJTOWICZ




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